Case 5:15-cv-02470-CAS-KK Document 4 Filed 12/03/15 Page 1 of 22 Page ID #:8



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 6   Attorneys for Defendants
     CITY OF COLTON and
 7   JACK MORENBERG
 8
 9                                   UNITED STATES DISTRICT COURT
10                              CENTRAL DISTRICT OF CALIFORNIA
11
12   RONALD J. COLLINS,                            Case No. 5:15-cv-2470
13                      Plaintiff,
                                                   DEFENDANT CITY OF COLTON
14            v.                                   AND JACK MORENBERG’S
                                                   NOTICE OF ERRATA RE FILING
15   CITY OF COLTON, CALIFORNIA, a                 OF NOTICE OF REMOVAL OF
     public entity; JACK MORENBERG,                CIVIL ACTION PURSUANT TO 28
16   an individual; SCOTT CHADWICK,                U.S.C. §§1331,1441, AND 1446
     an individual; and DOES 1 through
17   30, inclusive,
18                      Defendants.
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                                                                           NOTICE OF ERRATA
                                     Case 5:15-cv-02470-CAS-KK Document 4 Filed 12/03/15 Page 2 of 22 Page ID #:9



                                      1                                    NOTICE OF ERRATA
                                      2            TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
                                      3            PLEASE TAKE NOTICE that Defendants CITY OF COLTON and JACK
                                      4   MORENBERG (“Defendants”) hereby correct the Notice of Removal of Civil
                                      5   Action Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446 (“Notice”) [Dkt. 1] which
                                      6   was e-filed on December 3, 2015. The Notice was inadvertently missing Exhibits
                                      7   A-C. Accordingly, a complete Notice along with its Exhibits is attached hereto as
                                      8   Exhibit “A”.
                                      9
                                     10   Dated:             December 3, 2015     BEST BEST & KRIEGER LLP
300 SOUTH GRAND AVENUE, 25TH FLOOR
    LOS ANGELES, CALIFORNIA 90071




                                     11
       BEST BEST & KRIEGER LLP




                                     12                                           By: /s/ Dana M. Vessey
           LAW OFFICES OF




                                                                                    CHRISTOPHER M. PISANO
                                     13                                             DANA M. VESSEY
                                                                                    Attorneys for Defendant
                                     14                                             CITY OF COLTON and
                                                                                    JACK MORENBERG
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                                                                                                            NOTICE OF ERRATA
Case 5:15-cv-02470-CAS-KK Document 4 Filed 12/03/15 Page 3 of 22 Page ID #:10




                       EXHIBIT A
Case 5:15-cv-02470-CAS-KK Document 4 Filed 12/03/15 Page 4 of 22 Page ID #:11



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     CITY OF COLTON and
 7   JACK MORENBERG
 8
 9                                   UNITED STATES DISTRICT COURT
10                              CENTRAL DISTRICT OF CALIFORNIA
11
12   RONALD J. COLLINS,                            Case No. 5:15-cv-2470
13                      Plaintiff,                 NOTICE OF REMOVAL OF CIVIL
                                                   ACTION PURSUANT TO 28 U.S.C.
14            v.                                   §§1331, 1441, AND 1446
15   CITY OF COLTON, CALIFORNIA, a
     public entity; JACK MORENBERG,
16   an individual; SCOTT CHADWICK,
     an individual; and DOES 1 through
17   30, inclusive,
18                      Defendants.
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                                     Case 5:15-cv-02470-CAS-KK Document 4 Filed 12/03/15 Page 5 of 22 Page ID #:12



                                      1            TO THE CLERK OF THE ABOVE-CAPTIONED COURT:
                                      2            PLEASE TAKE NOTICE that Defendants City of Colton and Jack
                                      3   Morenberg hereby remove to this Honorable Court the state-court action described
                                      4   below.
                                      5            1.        On October 8, 2015, this action was commenced by Plaintiff Ronald
                                      6   Collins (“Plaintiff’) in the Superior Court of the State of California in and for the
                                      7   County of San Bernardino entitled Ronald J. Collins v. City of Colton, California, a
                                      8   public entity; Jack Morenberg, an individual; Scott Chadwick, an individual; and
                                      9   DOES 1 through 30, inclusive. The suit was assigned case number CIVDS1514891
                                     10   by the San Bernardino County Superior Court. A true and correct copy of the
300 SOUTH GRAND AVENUE, 25TH FLOOR
    LOS ANGELES, CALIFORNIA 90071




                                     11   Complaint is attached hereto as Exhibit A.
       BEST BEST & KRIEGER LLP




                                     12            2.        The first date upon which Defendant City of Colton received a copy of
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                                     13   said Complaint was November 5, 2015, when a copy of the Complaint was served
                                     14   on the City Clerk along with a Summons from the state court for each Defendant
                                     15   City of Colton and Defendant Jack Morenberg. A true and correct copy of the state
                                     16   court Summons for Defendant City of Colton is attached hereto as Exhibit B, and a
                                     17   true and correct copy of the state court Summons for Defendant Jack Morenberg is
                                     18   attached hereto as Exhibit C.
                                     19            3.        This Court has original jurisdiction under 28 U.S.C. section 1331 and
                                     20   removal jurisdiction under 28 U.S.C. section 1441(b), in that it arises under 42
                                     21   U.S.C. Section 1983 and the Fourth Amendment of the United States Constitution.
                                     22            4.        Defendant Scott Chadwick is not a party to the removable cause of
                                     23   action against Defendants City of Colton and Jack Morenberg for a violation of
                                     24   Plaintiff’s constitutional rights under 42 U.S.C. Section 1983 and the Fourth
                                     25   Amendment of the United States Constitution. Defendants City of Colton and Jack
                                     26   Morenberg, who jointly remove this case, are unaware as to whether the third
                                     27   defendant in this action, Defendant Scott Chadwick, has been served in this action.
                                     28            5.        Although removing Defendants City of Colton and Jack Morenberg

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                                     Case 5:15-cv-02470-CAS-KK Document 4 Filed 12/03/15 Page 6 of 22 Page ID #:13



                                      1   note that the first cause of action is mistakenly asserted against “All Defendants”
                                      2   (see Complaint), this is certainly a typographical error as Scott Chadwick is not a
                                      3   government official as reflected by the express factual allegations of the Complaint.
                                      4   Accordingly, removing Defendants City of Colton and Jack Morenberg are the only
                                      5   defendants as to the removable cause of action.
                                      6            WHEREFORE, removing Defendants respectfully remove this action from
                                      7   the Superior Court of California, in and for the County of San Bernardino, to this
                                      8   Court pursuant to 28 U.S.C. §§ 1331, 1441, and 1446. Should any question arise as
                                      9   to the propriety of this removal, Defendants respectfully request an opportunity to
                                     10   provide briefing and oral argument.
300 SOUTH GRAND AVENUE, 25TH FLOOR
    LOS ANGELES, CALIFORNIA 90071




                                     11            RESPECTFULLY SUBMITTED this 3rd day of December, 2015.
       BEST BEST & KRIEGER LLP




                                     12   Dated:             December 3, 2015      BEST BEST & KRIEGER LLP
           LAW OFFICES OF




                                     13
                                     14                                            By: /s/ Dana M. Vessey
                                                                                     CHRISTOPHER M. PISANO
                                     15                                              DANA M. VESSEY
                                                                                     Attorneys for Defendant
                                     16                                              CITY OF COLTON and
                                                                                     JACK MORENBERG
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Case 5:15-cv-02470-CAS-KK Document 4 Filed 12/03/15 Page 7 of 22 Page ID #:14




                   EXHIBIT A
Case 5:15-cv-02470-CAS-KK Document 4 Filed 12/03/15 Page 8 of 22 Page ID #:15
Case 5:15-cv-02470-CAS-KK Document 4 Filed 12/03/15 Page 9 of 22 Page ID #:16
Case 5:15-cv-02470-CAS-KK Document 4 Filed 12/03/15 Page 10 of 22 Page ID #:17
Case 5:15-cv-02470-CAS-KK Document 4 Filed 12/03/15 Page 11 of 22 Page ID #:18
Case 5:15-cv-02470-CAS-KK Document 4 Filed 12/03/15 Page 12 of 22 Page ID #:19
Case 5:15-cv-02470-CAS-KK Document 4 Filed 12/03/15 Page 13 of 22 Page ID #:20
Case 5:15-cv-02470-CAS-KK Document 4 Filed 12/03/15 Page 14 of 22 Page ID #:21
Case 5:15-cv-02470-CAS-KK Document 4 Filed 12/03/15 Page 15 of 22 Page ID #:22
Case 5:15-cv-02470-CAS-KK Document 4 Filed 12/03/15 Page 16 of 22 Page ID #:23
Case 5:15-cv-02470-CAS-KK Document 4 Filed 12/03/15 Page 17 of 22 Page ID #:24
Case 5:15-cv-02470-CAS-KK Document 4 Filed 12/03/15 Page 18 of 22 Page ID #:25
Case 5:15-cv-02470-CAS-KK Document 4 Filed 12/03/15 Page 19 of 22 Page ID #:26




                    EXHIBIT B
Case 5:15-cv-02470-CAS-KK Document 4 Filed 12/03/15 Page 20 of 22 Page ID #:27
Case 5:15-cv-02470-CAS-KK Document 4 Filed 12/03/15 Page 21 of 22 Page ID #:28




                    EXHIBIT C
Case 5:15-cv-02470-CAS-KK Document 4 Filed 12/03/15 Page 22 of 22 Page ID #:29
